      Case 6:07-cr-10221-JWB    Document 96       Filed 03/19/08    Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
                         Plaintiff,           )       CRIMINAL ACTION
                                              )
v.                                            )       No.    07-10221-08
                                              )
GREGORY REYNOLDS,                             )
                                              )
                         Defendant.           )
                                              )

                                MEMORANDUM AND ORDER
        Before the court are defendant’s motion for bill of particulars
(Docs. 79, 80) and the government’s response (Docs. 94, 95).                      For the
following reasons, defendant’s motion is denied.
        Defendant is charged in a superseding indictment (Doc. 17) with
conspiring with seven other defendants to distribute five kilograms
or more of cocaine beginning on an unknown date and continuing through
September 23, 2007.        He is also charged in two separate counts with
using a telephone to the facilitate conspiracy.                      The counts allege
specific dates, times and the telephone numbers of the callers and
recipients.       Finally, defendant is charged with the substantive
offense of possession with intent to distribute cocaine on or about
September 18, 2007. Defendant seeks a bill of particulars, contending
that the superseding indictment “. . . is currently so vague as to not
allowing him to consider the possibility of entering into negotiations
. .” to plead guilty and even if he wished to plead guilty, he could
not    do   so   based   upon    the   lack   of     factual       information    in   the
superseding indictment.          Defendant generally contends that prejudice
is the impairment of his ability to intelligently and effectively
   Case 6:07-cr-10221-JWB        Document 96     Filed 03/19/08    Page 2 of 3




mount    a   defense       but   other   than    his   statements      regarding     plea
negotiations and alleged inability to enter a plea, he does not
specifically point to any prejudice.
        The government responds that it has provided defendant’s counsel
with substantial discovery (4 pages of single-spaced listing) and it
has provided additional information in response to defendant’s motion.
        It is relatively uncommon in this court for a defendant to
request a bill of particulars, in part because this court has used a
general      order    of   discovery     for    many   years      which   requires   the
government to disclose information to a defendant’s counsel without
the necessity of a request.          This practice has dramatically decreased
the number of pretrial defense motions.                    Nonetheless, a bill of
particulars is still authorized under Rule 7(f) of the Federal Rules
of Criminal Procedure, but only if the indictment does not set forth
the elements of the offense charged and insufficiently apprises the
defendant of the charges so as to enable him to prepare for trial.
A bill of particulars is not a discovery tool and a defendant is not
entitled to notice of all the evidence the government intends to
produce but rather only the theory of the government’s case.                     United
States v. Ivy, 83 F.3d 1266, 1281 (10th Cir.), cert. denied, 117 S.
Ct. 253 (1996).
        The information requested by defendant is clearly evidentiary in
nature.      For example, he seeks the names and addresses of persons
present when the crimes were allegedly committed and “the nature of
act, and the time, date, and place of said act, by which defendant,
Gregory Reynolds, first manifested that he was part of the alleged
conspiracy.”         Defendant does not cite any case law holding that this

                                           -2-
   Case 6:07-cr-10221-JWB   Document 96    Filed 03/19/08   Page 3 of 3




sort of information is obtainable by way of a bill of particulars, nor
does he explain why lack of this particular information will prevent
him from preparing a defense or negotiating a guilty plea.
     Accordingly, defendant’s motion for a bill of particulars is
denied.
      IT IS SO ORDERED.
      Dated this    19th      day of March 2008, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




                                    -3-
